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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                        :     CHAPTER 11

 SCUNGIO BORST & ASSOCIATES, LLC              :     BANKRUPTCY NO. 22-10609(AMC)

                              Debtor          :


                                             ORDER

         AND NOW, upon consideration of the Motion of Debtor for Entry of an Order

Authorizing the (I) Rejection of a Non-Residential Real Property Lease Pursuant to 11 U.S.C. §

 365 and Fed. R. Bankr. P. 6006 and (II) Abandonment of Personal Property Pursuant to 11

U.S.C. § 554(a) and Fed. R. Bankr. P. 6007(a) (the “Motion”), and after notice to parties in

 interest, and the Limited Objection filed by Delaware River Port Authority of Pennsylvania and

New Jersey (the “DRPA”); it is hereby ORDERED that:

         1.            The Motion is GRANTED as modified herein.

         2.    The Lease Agreement by and between DRPA, as Landlord, and Scungio Borst &

Associates, LLC (the “Debtor”), as Tenant, dated October 24, 2005, as amended (the “Lease

Agreement”), for the premises located at One Port Center, 2 Riverside Drive, Suites 500 and

 506, Camden, NJ 08103 (the “Premises”) is hereby REJECTED.

         3.    The effective date of the rejection of the Lease Agreement and the abandonment

 of the personal property located at the Premises (the “Personal Property”) shall be determined by

further Order of this Court in connection with the Motion of Delaware River Port Authority of

Permsylvania and New Jersey to (I) Compel Payment of Post-Petition Rent and other Obligations

 and (II) Permit the Recoupment or alternatively Setoff of the Security Deposit being held by

Landlord, currently scheduled to be heard by the Court on June 8, 2022 at 12:30 p.m.
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        4.      All of the Personal Property is hereby ABANDONED by the Debtor to the DRPA

 and the DRPA is permitted to immediately sell, remove, or otherwise dispose of the Personal

 Property.

        5.      The DRPA is permitted to apply any proceeds from the sale of the Personal

 Property to its general unsecured claim. The DRPA reserves the right to add onto its general

 unsecured claim any costs associated with selling, removing or otherwise disposing of the

 Personal Property and the Debtor reserves the right to object thereto.

        6.      This Order shall take effect and be fully enforceable immediately upon its entry.

 Notwithstanding any Bankruptcy Rule or other applicable law, there shall be no stay of

 execution or effectiveness of this Order.

        7.      This Court shall retain jurisdiction to hear and determine all matters arising from

 the interpretation and/or implementation of this Order.


                                              BY THE COURT:


 Dated:_________                              ___________________________________
                                              ASHELY M. CHAN,
                                              UNITED STATES BANKRUPTCY JUDGE
